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IN THE UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
In re:
JOHN HENRY SYMONS, CASE NO. 8:14-bk-14330-CED
CHAPTER 13

Debtor.
/

 

MOTION FOR VIOLATION OF AUTOMATIC STAY,
CREDITOR MISCONDUCT AND REQUEST FOR ATTORNEY’S FEES

(KENT COUNTY TREASURER o/b/o KENT COUNTY - SEWER OPERATIONS)
COMES NOW the Debtor, JOHN HENRY SYMONS, by and through his

undersigned Counsel and hereby files this Motion for Violation of Automatic Stay, Creditor
Misconduct and Request for Attorney’s Fees against Kent County, o/b/o Kent County --
Sewer Operations, and as grounds therefore states:

1. Plaintiff filed his Chapter 13 case on December 10, 2014, and his Chapter 13
Plan was confirmed on July 22, 2015, (Doc #43).

2. The real property at issue in this motion is located at 161 Mayor Lane, Felton,
Delaware 19943, which has been vacant for more than a year and which was surrendered by
the Debtor. A Motion to Compel Vestment of Secured Property to Secured Creditors Upon
Confirmation (Doc #23) was filed March 3, 2015, and was subsequently ordered on April 30,
2015, (Doc #36).

3. The gravamen of this motion is that despite Debtor’s filing of bankruptcy, the
filing of proofs of claim by creditor, Kent County Treasurer, o/b/o Kent County—Sewer
Operations, (hereinafter, “Kent County”), and upon service upon the creditor of the
aforementioned Motion to Compel Vestment of Secured Property and the Order granting
same, Kent County has willfully continued to send to Debtor statements for past due and

current charges for sewer services as described on the attached exhibits since the filing of his
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Chapter 13 case, and is in violation of the bankruptcy automatic stay pursuant to 11 U.S.C.
§105(a) and 11 U.S.C. §362(k).
CAUSE OF ACTION

4, Attached hereto as Exhibit “A” is a copy of correspondence from Kent
County Department of Finance dated December 18, 2014, signed by Accountant Lori A.
Caloway. Although she acknowledges receipt of notice of the filing of Debtor’s bankruptcy
petition in paragraph one of her letter, in paragraphs three and four she informs Debtor that
he is responsible for future (sewer) bills and that he “...will receive a separate sewer bill for
the bankruptcy account.”

5. A “cease and desist” letter from undersigned counsel, (attached hereto as
Exhibit “B”), was sent to Kent County via regular U.S. Mail and via facsimile on December
31, 2014,

6. In March 2015, Debtor received another statement from Kent County,
(attached hereto as Exhibit “C”) showing a billing date of March 15, 2015, for the amount of
$169.28. This statement was addressed to Debtor and his former spouse, Michele Rose
Symons, who filed her Chapter 7 Case No. 8:14-bk-14726-CPM on December 19, 2014, and
was subsequently discharged of March 24, 2015. She also included Kent County as a
creditor in her Chapter 7 case.

7. On April 1, 2015, Debtor notified paralegal for undersigned counsel that he
had received another monthly statement from Kent County, also showing a billing date of
March 15, 2015, for the amount of $479.21, this time addressed only to him, (attached hereto
as Exhibit “D”).

8. On April 9, 2015, undersigned’s paralegal communicated via email to counsel
for Kent County that Debtor had received a “recent statement” from Kent County, and that

rendering of same was in violation of the bankruptcy automatic stay. Attorney Rebecca
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Kidner acknowledged receipt of the message that same date and replied that she would
“\..Anstruct them accordingly.” (A copy of the email transmission and statement in question
are attached hereto as Exhibit “E”.)

9, In June 2015, Debtor received correspondence dated June 17, 2015, and a
copy of a “corrected bill” bearing a billing date of June 15, 2015, for the amount of $258.92
from Kent County, (attached hereto as Exhibit “F”). This statement was addressed to Debtor
and his former spouse, Michele Symons.

10. In September 2015, Debtor received two (2) quarterly statements from Kent
County both bearing a billing date of September 15, 2015, (attached hereto as Exhibits “G”
and “H” respectively). Statement labeled Exhibit “G” in the amount of $352.31 was
addressed to Debtor and his former spouse, Michele Symons, while statement labeled Exhibit
“H” in the amount of $479.21 was addressed to Debtor.

11. In December 2015, Debtor received three (3) quarterly statements from Kent
County all bearing a billing date of December 15, 2015, (attached hereto as Exhibits “IT”, “J”
and “K” respectively). Statement labeled Exhibit “I” in the amount of $83.39 was addressed
to Debtor and his former spouse, Michele Symons, statement labeled Exhibit “J” showing no
amount due was addressed to Debtor, and statement labeled Exhibit “Ik” marked
CORRECTED BILL” in the amount of $479.21 was addressed to Debtor.

12, In December 2015, Debtor received correspondence from Kent County
Department of Finance dated December 18, 2015, (attached hereto as Exhibit “L”), notifying
Debtor of the production of a fourth (4") statement (attached hereto as Exhibit “M”), bearing
the billing date of December 15, 2015. This statement was also marked “CORRECTED
BILL” and was for the amount of $449.45 and addressed to Debtor and his former spouse,

Michele Symons.
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13. In March 2016, Debtor received two (2) quarterly statements from Kent
County both bearing a billing date of March 15, 2016, (attached hereto as Exhibits “N” and
“OQ” respectively). Statement labeled Exhibit “N” in the amount of $550.34 was addressed to
Debtor and his former spouse, Michele Symons, while statement labeled Exhibit “O” in the
amount of $479.21 was addressed to Debtor.

FACTS

14, At the time of the filing of his Chapter 13 case, Debtor was indebted to Kent
County for sewer services in the amount of $461.26.

15. Kent County Sewer Operations was listed in Debtor’s Schedule F as an
unsecured creditor with an address of PO Box 1175, Dover, DE 19903. (A copy of Sheet 3
of 6 of Debtor’s Schedule F is attached hereto as Exhibit “P”).

16. The property subject of this action is Debtor and former spouse’s former
marital home located at 161 Mayor Lane, situated in Felton, in Kent County, Delaware, and

more particularly described as:

ALL that certain lot, tract, piece or parcel of land in the Town of Felton, South

Murderkill Hundred and State of Delaware, known as Lot #61 Hidden Pond

Subdivision as recorded in Plat Book 67, Page 21.

AND BEING the same lands and premises as conveyed unto Trey, Inc. by Deed of

Asset Developers, LLC, by Deed dated July 14, 2004, and recorded in the office of

the Recorder of Deeds in and for Kent County, State of Delaware in Deed Record

Book 633 page 284.

17, The Mayor Lane property was surrendered by both the Debtor and his former
spouse in their respective bankruptcy cases. Neither have lived at the property since 2013.

18. The deadline for filing a proof of claim in the Debtors’ Chapter 13 case was
April 13, 2015. Kent County filed its Claim #3 on December 29, 2014, and its subsequent
amended claims 3-2 on January 29, 2015, and 3-3 on March 9, 2015. No claim of Kent

County is being paid through the Debtor’s Chapter 13 Plan.
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19. The repetitive statements being sent to Debtor and his former spouse, Michele
Symons, reflect two (2) separate accounts for what appears to be the same piece of property.

20. Debtor filed his Motion to Compel Vestment of Secured Property to Secured
Creditors Upon Confirmation (Docket No. 23) on March 3, 2015, a hearing was held April 6,
2015, and an Order granting same (Docket No. 36) was entered on April 30, 2015. Kent
County was noticed of the action and received notification by proper service.

COUNT I: AUTOMATIC STAY AS IT APPLIES TO THE DEBTOR

21. Section 362 stays action to collect a debt. Specifically, §362(a)(6) protects
the Debtor from creditors that are acting in any capacity to collect, assess, or recover a claim
against them that a before the commencement of the bankruptcy proceeding.

22. Debtor is enjoined by the automatic stay from creditor atiempts to collect a
debt, including having monies withheld to reimburse pay back the debt from payments due to
Debtor without any prior authorization.

23. The filing of a bankruptcy petition effectuates automatic stay of all
proceedings against the Debtor effective the date the petition is filed, and actions taken in
violation of the stay are void, even if there is no actual notice of the stay. (Personalized Air
Conditioning, Inc. v. C_M. Systems of Pinellas, 522 So.2d. 465 Fla.App. 4 Dist, 1988)

24. Kent County, o/b/o Kent County — Sewer Operations has failed to follow the
Bankruptcy Code in following specific procedures in the collection of their debt.

25, Kent County, o/b/o Kent County -- Sewer Operations failed to file any motion
or adversary complaint objecting to confirmation of the Debtor’s Chapter 13 Plan.

COUNT I: THE COLLECTION OF A DEBT BY KENT COUNTY, O/B/O KENT
COUNTY — SEWER OPERATIONS VIOLATES THE AUTOMATIC STAY

26. Once a creditor receives notice of a Chapter 13 bankruptcy filing, the creditor
has an affirmative duty to undo its violations of automatic stay. (dn re Keen, 301 B.R. 749

Bkrtcy. 8.D. Fla 2003)
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27. There can be no doubt that the creditor had knowledge of the Debtor’s
pending bankruptcy case.

28. Kent County, o/b/o Kent County — Sewer Operations was listed in Debtor’s
Schedule F as an unsecured creditor and subsequently listed on the court mailing matrix, both
with an address of PO Box 1175, Dover, DE 19903.

29, Since the onset of Debtor’s Chapter 13 case, Kent County, o/b/o Kent County
— Sewer Operations has continued to violate the automatic stay.

30, Debtor and undersigned counsel have made several good-faith attempts to
notify the creditor of the pendency of the Chapter 13 case.

31. Kent County, o/b/o Kent County — Sewer Operations’ actions of continuing to
collect by the presentation of not just one (1) billing statement, but two (2)billings for two (2)
separate accounts for the same property without an order of this Court are in direct violation
of the automatic stay.

COUNT Il: VIOLATION OF THE STAY AS WILLFUL

32. Kent County, o/b/o Kent County — Sewer Operations has acted with blatant
disregard to the United States Bankruptcy Court rules and procedures.

33. Kent County, o/b/o Kent County — Sewer Operations, c/o Kent County
Treasurer was listed as a creditor on Debtors’ bankruptcy petition filing and had been advised
of his pending bankruptcy.

34. Based on Kent County, o/b/o Kent County — Sewer Operations’ deliberate
actions, the creditor has wilffully violated the automatic stay in place for the Debtor.

35. A willful violation of the automatic stay occurs when the creditor knew that
the stay had been invoked and deliberately intended the action that violated the stay Un re

Hedetneimi 297 B.R. 837 Bkricy. M.D. Fla 2003).
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COUNT IV: DEBTOR WAS INJURED BY CREDITOR MISCONDUCT

36. Section 362(h) provides that those violating the automatic stay may be found
liable for damages under Section 362 of the Bankruptcy Code is their violation was “willful”.

37. Kent County, o/b/o Kent County — Sewer Operations has deliberately and
intentionally continued to harass the Debtor and his former spouse, Michele Symons.

38. Debtor filed for bankruptcy and believed he was relieved from the pressure
and harassment from creditors seeking to collect their claims.

39. However, Kent County, o/b/o Kent County — Sewer Operations has failed to
abide by the terms of the bankruptcy automatic stay, has continued to collect on a debt and
has caused the Debtor to suffer from emotional distress.

40. Debtor has been injured by Kent County, o/b/o Kent County — Sewer
Operations’ actions to collect the debt.

41. Kent County is not entitled to sovereign immunity. Colon, 102 B.R. 421
(E.D, PA 1989) contains a thoughtful discussion of rights of governmental powers and the
interplay with the bankruptcy stay. Section 106 of the Bankruptcy Code provides that
sovereign immunity is abrogated as to states and municipalities with respect to §362, among
others. The recent Supreme Court decision in Hood v. Tennessee Student Aid confirmed that
the states were bound to recognize the bankruptcy discharge, claims of sovereign immunity
notwithstanding. See also Krystal Energy Co. v. Nation, 357 F.3d 1055, 1057 (9th Cir. 2004)
as amended, 2004 U.S. App. LEXIS 6488 (9th Cir. Ariz. Apr. 6, 2004).

DAMAGES

WHEREFORE, Section 362(k) provides that the court shall award an individual

Debtor allowable punitive damages and attorney’s fees, and such other and further relief as

this Court shall find just. The Debtor’s damages include:

a) Debtor’s reasonable Attorney’s Fees in the amount of $400.00; and
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b) Debtor bas suffered interruption, annoyance, and continuing anxiety as he has

been forced to deat with the intentional and harassing stay violation of Kent County.

 

I, JOHN H. SYMONS, named as the Debtor in this case, declare under penalty of
perjury that I have read the foregoing Motion For Violation Of The Automatic. Stay,
Creditor Misconduct Amd Request For Attorney’s Fees, and the information comiained
in this verified document is; tree and correct to the best of my knowledge, infaimation and
belie® I wnderstand| that dlis. verified document is to be filed in electronic. form: with the.
jnited States: Bi:

  
  

ankrupiey, Court in connection with the above captioned case.

A hp i vrea O Date: ‘F130 (Alo a
ENRY SYMONS

 
 

Respectfully submitted: this 2M day of Apwill, 2016.

fs/ Nancy L. Cavey

Nancy L. Cavey, Esquire

FL Bar #300934

Sunshine State Bankruptcy Law Fina, LLC
821 16" StN, Suite A

St Petersburg, FL 33705

727.258.4999

727.289.7035 fax

favevi@hspabay ry. ein

Attorney for Debtor

CERTIFICATE OF SERVICE.

{1 HERESY CERTSEY that a tree and correct copy of the foregoing Motion Por
Violation Of The Automatic Stay, Creditor Misconduct And Request For Attorney’s Fees has:

been provided to the following. parties i interest by either U.S. Mail or electronic mail! to;

Office of the US, Trustee Kelly Remick

Timberlake Aamex Chapter 13 Trustee
501 E. Polk Street, Ste. 1200 PO Box 6099
Tampa, FL 33602 Sun City, FL 33571
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and by U.S. Certified mail, return receipt requested to:

Rebecca Batson Kidner, Esq. Kent County Treasurer

Attorney for Kent County o/b/o Kent County Sewer Operations
9 East Loockerman Street PO Box 1175

Suite 309 Dover, DE 19903

Dover, DE 19901

Susan Duram

Kent County Treasurer & Finance
Director

Department of Finance

Kent County Levy Court

555 Bay Road

Dover, DE 19901

on this Q Pay of April, 2016.

/s/ Nancy L.Cavey
Nancy L. Cavey, Esquire
